         Case 1:16-cr-10280-MLW Document 69 Filed 08/08/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA )
                         )
v.                       )                    CRIMINAL No. 16-CR-10280-MLW
                         )
DAVID MAGLIO             )
               Defendant )



           DEFENDANT’S MOTION TO SET SCHEDULING CONFERENCE

       The defendant moves this Honorable Court to set a scheduling conference in order to set
hearings on the defendant’s pending Motion for Frank’s Hearing and Motion to Suppress filed in
August and September of 2017 respectively.


       In support hereof, the defendant states that he has raised meritorious issues in his filings
and requests a scheduling conference to set hearing dates and discuss estimated time
requirements for said motions.


       If available to the court the defendant respectfully requests the afternoon of Monday 8/20,
Thursday 8/23 or Wednesday 8/29.



                                                      Respectfully submitted,
                                                      David Maglio
                                                      By his attorney,

                                                      /s/ Carmine P. Lepore
                                                      Carmine P. Lepore, Esq.
                                                      Lepore & Hochman, P.A.
                                                      One Sprague Street
                                                      Revere, MA 02151
                                                      (781) 286-8800
                                                      BBO # 564603


August 8, 2018
         Case 1:16-cr-10280-MLW Document 69 Filed 08/08/18 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/Carmine P. Lepore
                                                     Carmine P. Lepore




                                                 2
